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 7

 8                               UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10   NATIONSTAR MORTGAGE LLC,                          Case No. 2:16-cv-02542-RFB-DJA
11                             Plaintiff,
                                                       STIPULATION AND ORDER TO EXTEND
12   vs.                                               DISPOSITIVE MOTION DEADLINE
13   SAFARI HOMEOWNERS ASSOCIATION,                    (Second Request)
     NEVADA ASSOCIATION SERVICES, INC.,
14   AND SFR INVESTMENTS POOL 1, LLC,
15                             Defendants.
16
     AND ALL RELATED CLAIMS
17

18          SFR Investments Pool 1, LLC (“SFR”), and Nationstar Mortgage LLC (“Nationstar”),
19   hereby stipulate and agree that the dispositive motion deadline shall be extended to July 28, 2023.
20   Dispositive motions are currently due June 13, 2023. The extension is requested because SFR is
21   still obtaining the information necessary for the motions and will be supplementing that
22   information this week or next week. SFR’s counsel is then out of town from June 14 through June
23   26.
24   ///
25   ///
26   ///
27   ///
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 1           This is the second request for an extension of this deadline and is not intended to cause any

 2   delay or prejudice to any party.

 3           DATED this 8th day of June, 2023.

 4    AKERMAN LLP                                        HANKS LAW GROUP
 5

 6    /s/ Scott Lachman                                  /s/ Karen L. Hanks
      SCOTT LACHMAN, ESQ.                                KAREN L. HANKS, ESQ.
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10    Attorneys for Nationstar Mortgage LLC              Attorneys for SFR Investments Pool 1, LLC
11

12

13                                                ORDER
14           IT IS SO ORDERED:
15

16                                         _________________________________________
                                           UNITED STATES DISTRICT COURT JUDGE
17

18                                                  June 9, 2023
                                           DATED: _________________________________
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